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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

UNITED STATES                         *
OF AMERICA,
                                      *
       Plaintiff,
                                      *
       v.                                            CIVIL NO. JKB-17-0099
                                      *
BALTIMORE POLICE
DEPARTMENT, et al.,                   *

       Defendants.                    *


NOTICE OF APPROVAL OF SECOND SET OF REVISED USE OF FORCE POLICIES
  UNDER PARAGRAPHS 123-165 OF THE CONSENT DECREE (CORRECTED)

       As required by the Updated First-Year Monitoring Plan, see ECF No. 138-1, Row 71

(approved in ECF No. 139), the Baltimore Police Department Monitoring Team (“Monitoring

Team”) hereby notifies the Court that it approves the following nine revised Baltimore Police

Department (“BPD”) policies regarding use of force: Policies 412 (“Patrol/Rifle Shotgun

Program”), 414 (“Less-Lethal Munitions and Chemical Agents”), 710 (“Level 3 Use of Force

Investigations/Special Investigation Response Team (SIRT)”), 724 (“Performance Review

Board”), 725 (“Use of Force Reporting, Review, and Assessment”), 1005 (“Non-Uniformed

Policing Standards”), 1107 (“De-Escalation”), 1503 (“Emergency Vehicle Operation and Pursuit

Policy”), 1602 (“Canine Procedures”). The revisions to these policies are required by Paragraphs

123 - 165 of the Consent Decree. See ECF No. 2-2 (as modified by ECF No. 39), ¶¶ 123 - 165.

DOJ has indicated that it concurs in the approval of these policies.

       These policies can be accessed at the following links:

   •   https://www.powerdms.com/public/BALTIMOREMD/documents/418723 (Policy 409,
       Patrol Rifle/Shotgun Program)
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   •   https://www.powerdms.com/public/BALTIMOREMD/documents/332463 (Policy 414,
       Less-Lethal Munitions and Chemical Agents)

   •   https://www.powerdms.com/public/BALTIMOREMD/documents/339141 (Policy 710,
       Level 3 Use of Force Investigations/Special Investigation Response Team (SIRT))

   •   https://www.powerdms.com/public/BALTIMOREMD/documents/332438 (Policy 724,
       Performance Review Board)

   •   https://www.powerdms.com/public/BALTIMOREMD/documents/339127 (Policy 725,
       Use of Force Reporting, Review, and Assessment)

   •   https://www.powerdms.com/public/BALTIMOREMD/documents/332448 (Policy 1005,
       Non-Uniformed Policing Standards)

   •   https://www.powerdms.com/public/BALTIMOREMD/documents/355327 (Policy 1107,
       De-Escalation)

   •   https://www.powerdms.com/public/BALTIMOREMD/documents/387177 (Policy 1503,
       Emergency Vehicle Operation and Pursuit Policy)

   •   https://www.powerdms.com/public/BALTIMOREMD/documents/332441 (Policy 1602,
       Canine Procedures)

       These policies are the product of intensive collaboration among BPD, the Department of

Justice (“DOJ”) and the Monitoring Team, and reflect input and feedback from both community

stakeholders and BPD officers.

       The Monitoring Team previously filed a notice approving five other use of force policies:

Policies 409 (“Firearms Regulations”), 719 (“Conducted Electrical Weapon”), and 1111

(“Batons”), 1115 (“Use of Force”), and 1118 (“Oleoresin Capsicum Spray”). See ECF No. 118.

These polices have been modified slightly—in form, not substance—so that they are fully

consistent and integrated with the text of the second set of use of force policies that are the subject

of this Notice. The slightly modified policies can be accessed at these links:

   •   https://www.powerdms.com/public/BALTIMOREMD/documents/332449
       (Policy 409, Firearms Regulations)



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   •   https://www.powerdms.com/public/BALTIMOREMD/documents/331748
       (Policy 719, Conducted Electrical Weapon)

   •   https://www.powerdms.com/public/BALTIMOREMD/documents/320110
       (Policy 1111, Batons)

   •   https://www.powerdms.com/public/BALTIMOREMD/documents/332427
       (Policy 1115, Use of Force)

   •   https://www.powerdms.com/public/BALTIMOREMD/documents/320114
       (Policy 1118, Oleoresin Capsicum (OC) Spray)


       This is a corrected version of the same submission filed on September 18, see ECF No.

141, which inadvertently included the wrong link for revised Policy 414 on Less-Lethal Munitions

and Chemical Agents.



                                                           Respectfully submitted,


                                                           ___________/s/_______________
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                               CERTIFICATE OF SERVICE

       I hereby certify that on September 20, 2018, copies of the foregoing Notice of Approval of

Second Set of Revised Use of Force Policies under Paragraphs 123 – 165 of the Consent Decree

(Corrected) were served via the Court’s ECF system upon all counsel of record.


                                                           __________/s/___________
                                                           Seth Rosenthal
